        Case 6:19-cv-00532-ADA Document 104-1 Filed 11/04/20 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

UNILOC 2017 LLC,                                  §    Civil Action No. 6:19-cv-532-ADA
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §    PATENT CASE
                                                  §
APPLE INC.,                                       §
                                                  §
                Defendant.
                                                  §    JURY TRIAL DEMANDED
                                                  §

    DECLARATION OF LARISSA S. BIFANO IN SUPPORT OF APPLE INC.’S
 OPPOSITION TO UNILOC’S MOTION TO STRIKE SUPPLEMENTAL INVALIDITY
                          CONTENTIONS

        I, Larissa S. Bifano, hereby declare as follows:

        1.      I am an attorney at DLA Piper LLP (US), counsel of record in this action for

Defendant Apple Inc. I am a member of the Bar of the State of Massachusetts and have been

admitted pro hac vice to practice before this Court. I have personal knowledge of the matters

stated in this declaration and would testify truthfully to them if called upon to do so.

        2.      Prior to serving its invalidity contentions on December 18, 2019, my team

diligently investigated Apple’s invalidity defense, including conducting a number of prior art

searches, both with the aid of at least four DLA attorneys, a technical consultant and two third-

party search firms.

        3.      When reviewing and analyzing the scope of relevant prior art for purposes of

Apple’s preliminary infringement contentions, Apple anticipated that the claims of U.S. Patent

No. 6,467,088 (“the ’088 patent”) would be construed as requiring both a list of acceptable

configurations and a list of unacceptable configurations for the electronic device. As a result,

Apple focused its initial prior art searching for prior art that disclosed both of such lists.


                                                   1
WEST\292171288.1
        Case 6:19-cv-00532-ADA Document 104-1 Filed 11/04/20 Page 2 of 5




        4.      The following prior art referenced identified in Apple’s supplemental invalidity

contentions fall within the scope of prior art that became relevant as a result of the Court’s May

2020 claim construction ruling:

Supplemental Claim Chart          Prior Art Reference                 Reference Short Name
Service Date
August 27, 2020                   U.S. Patent No. 5,867,714           Todd
August 27, 2020                   U.S. Patent No. 5,155,847           Kirouac
September 3, 2020                 U.K. Patent Application No. GB      Sun
                                  2,325,766
September 23, 2020                U.S. Patent No. 5,666,293           Metz


        5.      My team was aware of each of the Todd, Kirouac and Sun references at the time

that Apple served its preliminary invalidity contentions, and in fact charted the Todd reference.

With respect to the Todd reference, Apple identified and charted Todd only as a secondary

reference in its preliminary invalidity contentions because it discloses only a “list of known

unacceptable configurations,” and did not at that time chart Todd as a primary reference because

it did not disclose both lists.

        6.      Apple’s outside litigation team first became aware of the Metz reference after the

Court’s Claim Construction ruling.

        7.      Apple did know that the Todd, Kirouac, Sun, or Metz references would constitute

invalidating prior art at the time it served its preliminary invalidity contentions because each of

these four references discloses only one of the acceptable/unacceptable lists, and not both as

Apple had understood the asserted claims of the ’088 patent to require when it prepared its

preliminary invalidity contentions in December 2019.

        8.      My team investigated a number of potential third-party prior art products,

including Microsoft, Debian, APT, BSD and Red Hat, with an eye towards serving formal third-

party subpoenas related to that prior art after discovery opened. With the exception of Microsoft,



                                                  2
WEST\292171288.1
        Case 6:19-cv-00532-ADA Document 104-1 Filed 11/04/20 Page 3 of 5




which Apple identified in its preliminary invalidity contentions, my team was not aware of any

of these prior art products at the time it served its preliminary invalidity contentions in December

2019 and did not focus upon them until the Court issued its claim constructions that broadened

the scope of potential prior art.

        9.      Once my team obtained the relevant new material relating to these prior art

products and determined that the products invalidated the asserted claims of the ’088 patent,

Apple promptly and seasonably served supplemental invalidity contentions as follows:

Supplemental Claim Chart            Prior Art Reference                 Reference Short Name
Service Date
September 23, 2020                  Advanced Packaging Tool             APT
September 29, 2020                  Red Hat Package Manager             Red Hat
September 29, 2020                  NetBSD                              BSD
October 2, 2020                     Debian Package and Debian Select    Debian
October 15, 2020                    Microsoft Windows 98                Microsoft


        10.     Apple identified Microsoft Windows 98 as a potential prior art product in its

preliminary invalidity contentions. However, because discovery was stayed, Apple was unable

to serve a subpoena on Microsoft until fact discovery opened. Apple served a subpoena on

Microsoft on June 29, 2020.

        11.     Due to the Covid-19 pandemic, Microsoft was unable to make its source code

available for inspection until the end of July 2020. Apple inspected the source code on two

different occasions – in July and September 2020. Microsoft also produced both responsive

technical documents and source code identified by Apple during the source code inspection in

response to the subpoena.

        12.     With respect to Debian (including APT, a derivative of Debian), BSD and Red

Hat, my team identified these products as potentially invalidating prior art during May and June




                                                  3
WEST\292171288.1
        Case 6:19-cv-00532-ADA Document 104-1 Filed 11/04/20 Page 4 of 5




2020. In June 2020, Apple drafted subpoenas to be served to be served to confirm whether these

products constituted invalidating prior art.

       13.     In further investigating Debian/APT and BSD in attempting to identify who could

be served with these subpoenas, my team determined, after hitting multiple dead ends, that there

currently is no viable entity to formally subpoena. Both the “Debian Project” and BSD are loose

associations of individuals who collectively created a free operating system called Debian and

NetBSD, respectively.

       14.     My team pivoted to pursuing informal discovery through further investigation and

ultimately was able to connect with individual developers of both Debian/APT and BSD, who

directed us to the relevant repositories. Such direction by relevant developers was critical since

the BSD website contains nearly four million lines of code relating to multiple different projects

and the Debian/APT website contains over 50,000 lines of source code for over 25 different

projects.

       15.     Regarding Red Hat, Apple put Uniloc on notice that Red Hat may be relevant to

invalidity of the ’088 patent in supplemental initial disclosures served in July 2020.

       16.     Apple diligently investigated the Red Hat prior art products and scoured through

over three million lines of source code relating to over seventy different editions to identify the

relevant information.

       17.     Apple served a supplemental invalidity chart for PCT Application No. WO

97/30549 (“MacInnis”) in early September 2020. While Apple had already served an invalidity

chart for the MacInnis reference with its December 2019 preliminary invalidity contentions, it

became clear during fact discovery that Uniloc was focusing on the server side (rather than the

client side) of Apple’s accused products. As a result, Apple supplemented its already disclosed




                                                  4
WEST\292171288.1
        Case 6:19-cv-00532-ADA Document 104-1 Filed 11/04/20 Page 5 of 5




chart relating to MacInnis to also address the fact that it disclosed the server-side focus of the

asserted claims.

       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge and that this declaration was executed this 4th day of November, 2020, in Boston,

Massachusetts.

                                               /s/ Larissa S. Bifano
                                               Larissa S. Bifano




                                                  5
WEST\292171288.1
